                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


HARRY SHAROD JAMES-EL,                     )
                                           )
                     Plaintiff,            )
                                           )
              v.                           )             1:20CV517
                                           )
THE PEOPLE’S REPUBLIC OF                   )
CHINA, et al.,                             )
                                           )
                     Defendant(s).         )


                                         JUDGMENT

       For the reasons set forth in the Order filed contemporaneously with this Judgment,

       IT IS THEREFORE ORDERED that this action is DISMISSED pursuant to 28

U.S.C. § 1915A for failing to state a claim upon which relief may be granted.

       This, the 2nd day of July 2020.

                                           /s/ Loretta C. Biggs
                                           United States District Judge




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